Case 2:05-cr-00206-FVS   ECF No. 180   filed 08/01/06   PageID.532 Page 1 of 6
Case 2:05-cr-00206-FVS   ECF No. 180   filed 08/01/06   PageID.533 Page 2 of 6
Case 2:05-cr-00206-FVS   ECF No. 180   filed 08/01/06   PageID.534 Page 3 of 6
Case 2:05-cr-00206-FVS   ECF No. 180   filed 08/01/06   PageID.535 Page 4 of 6
Case 2:05-cr-00206-FVS   ECF No. 180   filed 08/01/06   PageID.536 Page 5 of 6
Case 2:05-cr-00206-FVS   ECF No. 180   filed 08/01/06   PageID.537 Page 6 of 6
